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                                                                                   DQ             ''
ROBERT M CEJNLEY BLANKENSMRPJ                    CivilAction No.7:16-cv-00186
     Plaintiff,             )
                            )                    M EM O M N D U M O PIN IO N
v.                          )
                            )                    By: Jackson L.K iser
SUPEBJNTENDENT STEVE CLEAR, )                    Senior United StatesD istrictJudge
     Defendantts).          )

       RobertM cKinley Blnnkenship,proceeding pro K ,filed acivilrightscomplaint,ptlrsuant

to42U.S.C.j1983.By OrderenteredApril28,2016,thecourtdirectedplaintifftosubmit
within 30daysfrom the date oftheOrderan inmateaccotmtform ,and acertified copy of

plaintiffstrustfund accountstatem eùtforthe six-m onth period imm ediatelyprecedingthefiling

ofthecom plaint,obtained from theappropriateprison officialofeach prison atwhich plaihtiffis

orw asconfned dudng thatsix-m onth period.Plaintiffwasadvisedthatafailureto comply

wouldresultindismissalofthisaction withoutprejudice.
       M otethan 30 dayshaveelapsed,and plaintiffhasfailedto com ply with thedescribed

conditions.Accordingly,thecourtdismissestheactionwithoutprejudiceandstrikesthecase
from theactivedocketofthecourt.Plaintiffmay refiletheclaimsin aseparateaction once

plaintiffisprepared to complywith thenoted conditions.

       TheClerk isdirected to send acopy ofthisM em orandllm Opinion and accompN ying

Orderto plaintiff.

       EN TER : This    --a .   day ofJtm e,2016.

                                                 -
                                                 Serlio UnitedStatesbistnctJudge




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